                      Case 2:21-cr-00559-SB Document 40 Filed 04/12/22 Page 1 of 4 Page ID #:465



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                           Attorneys for Defendant David H. Wright
                      12

                      13                                  UNITED STATES DISTRICT COURT

                      14                                 CENTRAL DISTRICT OF CALIFORNIA

                      15

                      16   UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00559-1

                      17                    Plaintiff,                   DEFENDANT DAVID H. WRIGHT’S
                                                                         OBJECTIONS TO PRESENTENCE
                      18          v.                                     INVESTIGATION REPORT
                      19   DAVID H. WRIGHT,                              [Filed concurrently with Sentencing
                      20                                                 Memorandum; Exhibits to Sentencing
                                            Defendant.                   Memorandum]
                      21
                                                                         Hon. Stanley Blumenfeld, Jr.
                      22
                                                                         Date:     April 26, 2022
                      23                                                 Time:     8:00 a.m.
                      24

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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW
                                                                                    DEFENDANT’S OBJECTIONS TO PIR
      LOS ANGELES                                                                                   2:21-CR-00559-1
                      Case 2:21-cr-00559-SB Document 40 Filed 04/12/22 Page 2 of 4 Page ID #:466



                       1                          OBJECTIONS TO PRESENTENCE REPORT
                       2          Mr. Wright hereby submits the following Objections to the Presentence Investigation
                       3   Report (“PIR”) dated March 21, 2022, pursuant to Rule 32(f) of the Federal Rules of Criminal
                       4   Procedure and Local Rule 32-3.2.
                       5
                                                 TEXT                                       CORRECTION
                       6    1.    87. Wright resides at 12 Scarborough      87. Wright resides at 12 Scarborough Way,
                                  Way, Rancho Mirage, California            Rancho Mirage, California 92270, with his
                       7
                                  92270, with his partner Vincent Price     partner Vincent Price and his ex-wife Carolyn
                       8          and his ex-wife Carolyn Wright.           Wright.
                            2.    91. Wright has two siblings: Martin       91. Wright has two siblings: Martin John
                       9
                                  John Wright, age 64, who resides in       Wright, age 64, who resides in Anaheim Hills,
                      10          Yorba Linda, California, where he         California, where he works for a video
                                  works for a video production              production company; and Susan Marjorie
                      11          company; and Susan Marjorie               Caballero, age 59, who resides in Yorba Linda,
                                  Caballero, age 59, who resides in         California, where she is a homemaker.
                      12
                                  Yorba Linda, California, where she is
                      13          a homemaker.
                            3.    93. For the past 18 years, Wright has     93. For the past 18 years, Wright has been in a
                      14
                                  been in a stable and committed            stable and committed relationship with
                      15          relationship with Vincent J. Price,       Vincent J. Price, age 56, who resides at 2252 El
                                  age 56, who resides with Wright in        Capitan Dr., Riverside, California. He spends a
                      16          Rancho Mirage, where he is                great deal of time with Wright in Rancho
                                  employed with the City of Riverside       Mirage. Vincent is employed with the City of
                      17          as an IT analyst in charge of software    Riverside as an IT Analyst in charge of software
                      18          compliance.                               compliance.
                            4.    98. Wright’s father supported the         98. Wright’s father supported the family by
                      19          family by working as a supervisor         working as a supervisor with Beckman
                                  with the city of Fullerton. His           Instruments, Inc., in the City of Fullerton. His
                      20
                                  mother worked as an estimator for a       mother worked as a bank teller in Orange,
                      21          box company.                              California.
                            5.    130. Wright stands 6’1” tall, weighs      130. Wright stands 6’1” tall, weighs 210
                      22
                                  210 pounds, and has blue eyes and         pounds, and has blue eyes and grey hair. Wright
                      23          grey hair. Wright reported no tatoos      reported no prominent scars and has one tattoo
                                  [sic] or prominent scars.                 around his right calf.
                      24
                            6.    143. From 1978 to 1985, Wright            143. From 1978 to 1985, Wright attended
                      25          attended CSUF, where he earned his        CSUF, where he earned his Bachelor’s and
                                  Bachelor’s and Master’s degree in         Master’s degrees in Business Administration,
                      26          business administration, with an          with an emphasis on accounting.
                                  emphasis on finance.
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VEDDER PRICE (CA), LLP
                                                                                            DEFENDANT’S OBJECTIONS TO PIR
   ATTORNEYS AT LAW                                                       -2-                               2:21-CR-00559-1
      LOS ANGELES
                      Case 2:21-cr-00559-SB Document 40 Filed 04/12/22 Page 3 of 4 Page ID #:467



                       1                           TEXT                                   CORRECTION
                       2    7.    Monthly Income                        Monthly Income
                       3          Retirement Income                     Retirement Income
                                  Pension/Annuity | $12,602.00          Pension/Annuity | $16,467.00
                       4          Dividend Income                       Dividend Income
                       5          Dividend/Interest Income | $50.00     Dividend/Interest Income | $50.00
                                  Total Monthly Income | $12,652.00     Total Monthly Income | $16,517.00
                       6

                       7

                       8   Dated: April 12, 2022                            VEDDER PRICE (CA), LLP

                       9

                      10                                                    By:
                                                                                  Anthony Pacheco
                      11                                                          Brooke E. Conner
                                                                                  Maura L. Riley
                      12

                      13                                                    Attorneys for Defendant
                                                                            David H. Wright
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VEDDER PRICE (CA), LLP
                                                                                          DEFENDANT’S OBJECTIONS TO PIR
   ATTORNEYS AT LAW                                                   -3-                                 2:21-CR-00559-1
      LOS ANGELES
                      Case 2:21-cr-00559-SB Document 40 Filed 04/12/22 Page 4 of 4 Page ID #:468



                      1                             CERTIFICATE OF SERVICE
                      2         I hereby certify that on April 12, 2022, I caused to be electronically filed a
                      3   true and correct copy of the foregoing with the Clerk of Court using the CM/ECF
                      4   system and that all counsel of record will be served via the Notice of Electronic
                      5   Filing generated by CM/ECF.
                      6
                      7                                                        /s/ Anthony Pacheco
                                                                                Anthony Pacheco
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VEDDER PRICE (CA), LLP
                                                                                            CERTIFICATE OF SERVICE
   ATTORNEYS AT LAW
      LOS ANGELES
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